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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

1.     SARAH HANCOCK,              )
                                   )
                   Plaintiff,      )
v.                                 )                     CIV-18-235-SLP
                                   )
1.     TFC QUAIL SPRINGS OPCO, LLC )
       d/b/a PDQ, and              )
2.     CHOICE EMPLOYER SOLUTIONS )
       III, INC.,                  )
                                   )                     JURY TRIAL DEMANDED
                   Defendants.     )                     ATTORNEY LIEN CLAIMED

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed.R.Civ.P. 41 (a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

Plaintiff, Sarah Hancock, hereby stipulates with the Defendants, TFC Quail Springs OPCO,

LLC d/b/a PDQ and Choice Employer Solutions III, Inc. (Choice HR), that her claims in the

above styled and numbered action shall be dismissed with prejudice. The parties shall bear

their own costs and attorney fees.




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RESPECTFULLY SUBMITTED THIS 20th DAY OF AUGUST, 2018.

                            s/Lauren W. Johnston
                            Jana B. Leonard, OBA # 17844
                            Shannon C. Haupt, OBA #18922
                            Lauren W. Johnston, OBA # 22341
                            LEONARD & ASSOCIATES, P.L.L.C.
                            8265 S. Walker
                            Oklahoma City, OK 73139
                            Tele: 405-239-3800 Fax: 405-239-3801
                            leonardjb@leonardlaw.net
                            johnstonlw@leonardlaw.net
                            haupts@leonardlaw.net
                            Counsel for Plaintiff


                            s/ Jason L. Callawy
                            (Signed with permission)
                            J. Christopher Davis, OBA #16639
                            Kari A. Deckard, OBA #30735
                            Jason L. Callaway, OBA #31958
                            JOHNSON & JONES, P.C.
                            Two Warren Place
                            6120 South Yale, Suite 500
                            Tulsa, Oklahoma 74136
                            Tele: 918-584-6644 Fax: 888-789-0940
                            cdavis@johnson-jones.com
                            kdeckard@johnson-jones.com
                            jcallaway@johnson-jones.com
                            Counsel for Defendant




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